     Case 3:04-cv-00251-HSO-ASH      Document 938      Filed 09/02/22   Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION

OLIVIA Y., et al.,                            )
                                              )
         Plaintiffs,                          )
                                              )
v.                                            )             3:04-CV-251-HSO-FKB
                                              )
TATE REEVES, as Governor of the               )
State of Mississippi, et al,                  )
                                              )
         Defendants.                          )

                   MOTION FOR LEAVE TO WITHDRAW AS COUNSEL


         COMES NOW, W. Wayne Drinkwater, Jr., and moves for leave to withdraw as

one of the counsel for Plaintiffs in this action. Movant is now phasing out of active

law practice and this motion is part of a larger effort to withdraw from all matters in

which he now appears as counsel of record.        Plaintiffs and plaintiffs’ class are

adequately represented by existing counsel Marcia R. Lowry, Anastasia Benedetto,

Jonathan Borle, and by Michael J. Bentley as local counsel. Movant is authorized to

represent to the Court that Plaintiffs’ remaining counsel do not object to the present

motion.

         RESPECTFULLY SUBMITTED, this 2nd day of September, 2022.


                                        /s/ W. Wayne Drinkwater, Jr.
                                        Wayne Drinkwater, Jr. (MBN 6193)
                                        Michael J. Bentley (MBN 102631)
                                        BRADLEY ARANT BOULT CUMMINGS LLP
                                        One Jackson Place, Suite 1000
                                        188 East Capitol Street
                                        Jackson, Mississippi 39201


4821-3615-4469.4
    Case 3:04-cv-00251-HSO-ASH   Document 938   Filed 09/02/22   Page 2 of 3




                                   Telephone: (601) 948-8000
                                   Facsimile: (601) 948-3000
                                   Email: wdrinkwater@bradley.com
                                   mbentley@bradley.com

                                   Marcia Robinson Lowry (pro hac vice)
                                   Anastasia Benedetto (pro hac vice)
                                   Jonathan Borle (pro hac vice)
                                   A Better Childhood, Inc.
                                   355 Lexington Avenue, Floor 16
                                   New York, New York 10017
                                   Telephone (646) 808-7344
                                   Email: mlowry@abetterchildhood.org
                                   abenedetto@abetterchildhood.org
                                   jborle@abetterchildhood.org




                                     2
4821-3615-4469.4
    Case 3:04-cv-00251-HSO-ASH         Document 938      Filed 09/02/22   Page 3 of 3




                              CERTIFICATE OF SERVICE

         I hereby certify that on September 2, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will deliver copies to all

counsel of record.


                                                 /s/ W. Wayne Drinkwater, Jr.
                                                 W. Wayne Drinkwater, Jr.




                                             3
4821-3615-4469.4
